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     Attorneys for Class
21
22   ///

23   ///
24
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27   ///

28   ///

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                            IN THE UNITED STATES DISTRICT COURT
 1
                                 FOR THE DISTRICT OF NEVADA
 2
 3   CARLOS EFRAIN LEONEL GARCIA, an
     individual, on behalf of himself and all those
 4                                                      Civil Action No.: 2:16-cv-00601-JAD-CWH
     similarly situated,
 5
     Plaintiff,
 6
     vs.
 7
 8   AUTOVEST, LLC, a domestic limited
     liability company;
 9
     Defendant.
10
11
12   LORRAINE BELT, on behalf of herself and
     all those similarly situated,
13
                       Intervenor,
14
15   vs.

16   AUTOVEST, LLC, a domestic limited
     liability company;
17
18   Defendant.

19                PLAINTIFFS’ MOTION FOR ATTORNEY’S FEES AND COSTS
20
             Plaintiff Class Representative, Carlos Efrain Leonel Garcia, and Intervenor Class
21
     Representative, Lorraine Belt, individually and on behalf of the Class certified herein, by and
22
23   through counsel, Dan L. Wulz, Esq., Legal Aid Center of Southern Nevada, Inc., hereby submit

24   this Motion for Attorney’s Fees and Costs in the amount of $25,000.00 (as well as approval of
25   $12,550 in attorney’s fees and costs to be paid in associated state court litigation) pursuant to the
26
     terms of the preliminarily approved Class Action Settlement Agreement and as is allowable by
27
     15 U.S.C. § 1692k(a)(3), to be heard October 2, 2017, 1:30 p.m.
28

                                                       2
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                                         I.     INTRODUCTION
 1
 2          This certified class action involves the alleged collection of and filing of litigation on

 3   time-barred auto deficiency debt collection matters against the Class Members in violation of the
 4
     Fair Debt Collection Practices Act, 15 U.S.C. 1692 et seq. (“FDCPA”) and abuse of process. The
 5
     suit originated after Autovest sued Class Representative Carlos Garcia in Las Vegas Justice
 6
 7   Court, Autovest, LLC v. Garcia, Case No. 15C005404, on March 20, 2015 (currently pending in

 8   the Eighth Judicial District Court, Department #15, Garcia v. Autovest, LLC, Case No. A-16-
 9   736936-A.) Mr. Garcia sought the assistance of counsel, Legal Aid Center of Southern Nevada,
10
     Inc., which resulted in commencement of the instant action on March 17, 2016.
11
            Class Counsel together have cumulatively spent more than 252.2 hours investigating and
12
13   litigating this matter over the past seventeen months in this case. The majority of the work by

14   Class Counsel—including but not limited to investigation, filing a lawsuit, seeking class
15   certification, extensive motion practice, and settlement negotiations—had to be done to
16
     accomplish the result obtained. See: Declarations of each of Class Counsel, Exhibit Nos. 1, 2
17
     and 3, attached.
18
19          Dan L. Wulz, Esq., bills at a rate of $450 per hour, Mitchell D. Gliner, Esq., bills at a rate

20   of $500 per hour, and Daniel A. Edleman, Esq. at a rate of $700 per hour. Reasonable attorney’s
21
     fees amount to $93,850.00. Id. However, per the Class Action Settlement Agreement (Exhibit
22
     No. 1 to the “Joint Motion for Preliminary Approval of Settlement and Notice to Class,” Doc.
23
     #55, 2/6/17), Autovest has agreed to not contest and to pay attorney’s fees and costs up to
24
25   $25,000.00. Therefore, Class Counsel is seeking approval of reasonable attorney’s fees in the

26   amount of $25,000.00.
27
28

                                                      3
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            Legal Aid Center of Southern Nevada, Inc., separately seeks approval of reasonable
 1
 2   attorney’s fees and costs in the amount of $12,550.00 to be paid by Autovest in the associated

 3   state court action, all as also provided in the Class Action Settlement Agreement. The
 4
     Declaration of Dan L. Wulz, Esq., attached as Exhibit No. 1, shows and affirms that 38.0 hours
 5
     were spent by himself and 168.5 hours were spent by Sophia Romero, Esq., in the defense of Mr.
 6
 7   Garcia in that associated state court action.

 8                   II.     RESULTS OBTAINED – BENEFIT TO THE CLASS
 9          Under the preliminarily approved Class Action Settlement Agreement, the twenty-five
10
     members of the Judgement Subclass will each receive a $100 credit to their accounts. The
11
     seventy-three members of the Non-Judgment Subclass will enjoy waiver of debt in the total
12
13   amount of $738,096.74. Class Representatives Garcia and Belt will each receive $1,000 for their

14   services to the Class, and will each enjoy waiver of their alleged debt to Autovest.
15                     III. THE PRELIMINARILY APPROVED CLASS ACTION
16
                SETTLEMENT PROVIDES FOR ATTORNEY’S FEES AND COSTS
17
            The Class Action Settlement Agreement attached as Exhibit No. 1 to the “Joint Motion
18
19   for Preliminary Approval of Settlement and Notice to Class,” Doc. #55, 2/6/17, provides at

20   paragraph no. 32:
21
               Attorney Fees, Costs & Expenses. Class Counsel has represented that up
22             through the negotiation of this Agreement, they had spent in excess of 160
               hours on this matter, and will continue to incur additional time, and that
23             their rates for their services is $500 per hour for Mr. Gliner, $700 per hour
               for Mr. Edelman, and $450 per hour for Mr. Wulz. Autovest expresses no
24
               opinion on the reasonableness of the rates sought or on the amount of time
25             that Class Counsel claims to have spent on the matter. Based on these
               representations, however, Autovest agrees not to oppose any application
26             for fees and expenses by Class Counsel up to $25,000.00, which will
27             include reimbursement for all time spent as well as all costs and expenses
               incurred through the conclusion of the Action. Class Counsel must submit
28             a fee petition to the Court no later than five (5) business days prior to the

                                                      4
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                 Settlement Hearing. Within 10 business days of the Effective Date,
 1
                 Autovest will pay Class Counsel the attorney fees approved by the Court,
 2               up to $25,000.00. The amount awarded by Court’s in response to Class
                 Counsel’s fee petition will not affect the finality of the settlement of this
 3               matter.
 4
            Also, as part of settlement of this Class Action, the Class Action Settlement Agreement at
 5
     paragraph no. 30 provides as follows with respect to settlement of Autovest’s companion
 6
 7   litigation against Class Representative Carlos Garcia:

 8               Disposition of Action Pending Against Carlos Garcia. Within ten (10)
                 days after the Effective Date, the Parties will submit a Stipulation and
 9               Order to the Eighth Judicial District Court, Department #15, in Garcia v.
10               Autovest, Case No. A-16-736936-A, providing that the parties have
                 settled, the appeal is withdrawn, and the case is remanded to Justice Court.
11               The parties will then file a Stipulation and Order in the Justice Court to
                 vacate the Judgment, dismiss the case with prejudice and request the
12               Justice Court return the $250 appeal bond to Named Plaintiff Carlos
13               Garcia. As part of the Justice Court settlement, Autovest will make a
                 payment to Legal Aid Center of Southern Nevada, Inc. for attorneys’ fees
14               in the amount of Twelve Thousand Five Hundred Dollars ($12,500) and
                 costs in the amount of Fifty Dollars ($50) for a total payment of $12,550
15               within 15 business days of receipt of the filing of the Stipulations
16               referenced in this paragraph and the receipt of this Agreement executed
                 by Garcia.
17
                                   IV.     POINTS AND AUTHORITIES
18
19          FRCP 54(d)(2) provides that a party may make a claim for attorney’s fees by motion, so

20   long as the party specifies “the judgment and the statute, rule, or other grounds entitling the
21
     movant to the award.” Class Counsel are entitled to an award of attorney’s fees based on the
22
     Class Action Settlement Agreement. Further, the Class is entitled to fees pursuant to 15 U.S.C. §
23
     1692k(a)(3).
24
25          A.       Plaintiffs are Entitled to Attorney’s Fees Pursuant to Section 1692k(a)(3).
26          Section 1692k(a)(3) provides that a plaintiff is entitled to attorney’s fees if his suit is a
27
     “‘successful action to enforce the foregoing liability,’ meaning liability for either actual or
28

                                                        5
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     statutory damages.” Dechert v. Cadle Co., 441 F.3d 474, 475 (citing 15 U.S.C. § 1692k(a)(3)).
 1
 2   To be a prevailing party, and therefore entitled to an award of fees, the party must obtain an

 3   enforceable judgment, or obtain a settlement that provides similar relief. Farrar v. Hobby, 506
 4
     U.S. 103, 112 (1992) (citing Hewitt, 482 U.S. 755, 760 (1987); Maher v. Gagme, 488 U.S. 122,
 5
     129 (1980)).
 6
 7          Class Counsel have negotiated a settlement agreement that requires Autovest to pay

 8   statutory damages to members of the Judgment Subclass Members via a credit to each Member’s
 9   account, and to waive the deficiency balances allegedly due from Non-Judgment Subclass
10
     Members, as well as ceasing collection activity. The relief that the settlement provides is similar
11
     to the relief that was sought, and might have been awarded through a successful judgment.
12
13   Therefore, the Class has received a “settlement that provides similar relief” as an enforceable

14   judgment and is entitled to attorney’s fees under 15 U.S.C. § 1692k(a)(3).
15          B.      Notice of this Request for Award of Class Counsel Fees is Being Provided
16                  to All Class Members

17          The Court approved notice to the Class which revealed the amount of attorney’s fees and
18
     costs that Autovest has agreed not to oppose and to pay as part of the preliminarily approved
19
     settlement, and which Class Counsel now requests be approved by this Court. Furthermore, the
20
     notice specifically instructed class members of the proper procedure for objecting to any aspect
21
22   of this proposed settlement, including objecting to Class Counsel’s application for an award of

23   attorney’s fees. Thus, at the time of the Final Approval Hearing, all Class members will have
24
     been notified that this request for an award of attorney’s fees is pending, and Class Members will
25
     have been notified of the procedure to comment upon said request.
26
27          C.      An Award of Attorney’s Fees to Pro Bono Counsel is Proper.

28          A non-profit, private legal services organization which represents persons who would

                                                      6
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     otherwise receive no legal assistance can receive an award of attorney’s fees in a civil rights
 1
 2   class action where, although the organization is funded to a substantial extent from public funds,

 3   it exercises independent judgment in performing its legal function. Palmer v. Columbia Gas of
 4
     Ohio, Inc., 375 F.Supp. 634 (N.D. Ohio 1974). Attorney's fees are routinely awarded to legal
 5
     services, pro bono, or other nonprofit legal organizations. See, e.g., Blum v. Stenson, 465 U.S.
 6
 7   886, 104 S.Ct. 1541, 79 L.Ed.2d 891 (1984); Washington v. Seattle School Dist. No. 1, 458 U.S.

 8   457, 102 S.Ct. 3187, 73 L.Ed.2d 896 (1982); Dennis v. Chang, 611 F.2d 1302 (9th Cir. 1980);
 9   Holley v. Lavine, 605 F.2d 638 (2nd Cir. 1979). It is well settled that attorney's fees under 42
10
     U.S.C. § 1988 are not barred merely because counsel "is a legal services organization providing
11
     free legal representation." Dennis, supra, 611 F.2d at 1304. Accord: Blum, supra, 465 U.S. at
12
13   894, 104 S.Ct. at 1547. See also: Washington, 458 U.S. at 488 n. 31, 102 S.Ct. at 3204 n. 31

14   (courts "have held with substantial unanimity that publicly funded legal services organizations
15   may be awarded fees").
16
               When free legal services are provided there may be no direct barrier to the
17             courtroom door, but if no fees are awarded, the burden of the costs is
               placed on the organization providing the services, and it correspondingly
18
               may decline to bring such suits and decide to concentrate its limited
19             resources elsewhere, thereby curtailing the forceful application of the Act
               that Congress sought. Thus, the denial of fees in this situation indirectly
20             cripples the enforcement scheme designed by Congress.
21
     Hairston v. R & R Apts., 510 F.2d 1090, 1092 (7th Cir. 1975).
22
             D.     The Criteria for an Award of Attorney Fees are Met
23
            The “lodestar” method is used for calculating fees in FDCPA cases. Rodriguez v. Nancy
24
25   A. Smith & Associates, No. 3:12-CV-5252-RBL, 2012 WL 5207545, at *2 (W.D. Wash. Oct. 22,

26   2012)(citing Ferland v. Conrad Credit Corp., 244 F.3d 1145, 1149 n. 4 (9th Cir. 2001)). “The
27
     ‘lodestar’ is calculated by multiplying the number of hours the prevailing party reasonably
28

                                                      7
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     expended on the litigation by a reasonable hourly rate.” Morales v. City of San Rafael, 96 F.3d
 1
 2   359, 363 (9th Cir. 1996). The court adjusts the lodestar figure based on twelve factors set forth in

 3   Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 69-70 (9th Cir. 1975).
 4
            1. Reasonable Hours
 5
            The following factors should be taken into account for determining reasonable hours in
 6
 7   the lodestar calculation: “‘(1) the novelty and complexity of the issues, (2) the special skill and

 8   experience of counsel, (3) the quality of representation, … (4) the results obtained,’ … and (5)
 9   the contingent nature of the fee agreement” (internal cites omitted). Morales, 96 F.3d at 364 n. 9.
10
            Class actions present a unique and complex set of challenges. Counsel must consider
11
     class allegations, inclusion of class members, the definition of the class, including subclasses,
12
13   notification to class members, and assuring named plaintiffs are suitable class representatives.

14   The complexity of such a case must surely be considered when determining whether hours and
15   rates are reasonable. Here, Class Counsel have engaged in more than 252.2 hours of work,
16
     including but not limited to investigation, filing a lawsuit, seeking class certification, extensive
17
     motion practice, and settlement negotiations. This is certainly a reasonable amount of hours
18
19   given the complexity of a class action, FDCPA suit.

20          Additionally, Class Counsel are highly experienced in class action litigation, settlement
21
     negotiations, and claims in consumer protection litigation. Dan L. Wulz, Esq., Mitchell D.
22
     Gliner, Esq., and Daniel A. Edleman, Esq. have all had over thirty years of experience in
23
     litigation and consumer law. All counsel have been recognized in their field to be highly
24
25   qualified and greatly experienced. Finally, Class Counsel have been successful in settlement

26   negotiations, such that they have saved time and money for all concerned were this case to be
27
     litigated to conclusion.
28

                                                       8
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            Based on the above, Class Counsel have tracked the following number of hours
 1
 2   reasonably spent on this case:

 3                 Dan L. Wulz, Esq., 79.7 hours at a reasonable hourly rate of $450 per hour for a
 4                  total of $35,865.00, and Sophia Romero, Esq., 165.5 hours at a reasonable hourly
                    rate of $300.00 for a total of $49,650.00, for a cumulative total of $85,515.00.
 5                  See Affidavit of Dan L. Wulz, Esq., attached hereto as EXHIBIT 1.
 6                 Mitchell D. Gliner, Esq., 7 hours at a reasonable hourly rate of $500 per hour for a
 7                  total of $3,500.00. EXHIBIT 2.

 8                 Daniel A. Edleman, Esq., unspecified number of hours but affirming $4,835.13 in
                    attorney’s fees and costs incurred, at a reasonable hourly rate of $700 per hour,
 9
                    reduced to $3,500.00. EXHIBIT 3.
10
            The total of the lodestar is equal to $93,850.13.
11
            Also, in the Garcia state court action, Dan L. Wulz spent 38 hours which at $450 per hour
12
13   equals $17,100, and Sophia Romero, Esq., spent 168.5 hours which at $300 per hour equals

14   $50,500, for a grand total lodestar of $67,600 in the Garcia state court action.
15
            2. Reasonable Fees
16
            To determine whether the hourly rates are reasonable, the Court must look to the
17
18   “prevailing market rates in the relevant community.” Bell v. Clackamas County, 341 F.3d 858,

19   868 (9th Cir. 2003). According to the 2013-2014 Consumer Law Attorney Fee Survey (the
20   “Survey”), the average attorney hourly rate, in pertinent part, is as follows: $290 for 3-5 years,
21
     $463 for 6-10 years, and $475 for more than 31 years. These average rates should be taken into
22
     consideration when determining whether the fee request is reasonable. See e.g.: Mandler v.
23
24   Colvin, 2016 WL 526217, at *3 (D. Nev. Feb. 9, 2016) (citing the 2010-2011 Survey report,

25   lodestar method, and Ninth Circuit’s maximum hourly rate for attorneys was reasonable); Silver
26   State Broad., LLC v. Beasley FM Acquisition, 2015 WL 1186461, at *2 (D. Nev. Mar. 16, 2015)
27
     (court used Laffey Matrix, the 2010-2011 Survey report, and DOJ to discuss reasonableness of
28

                                                      9
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     fees, also stating that Defendant failed to show that these rates were unreasonable according to
 1
 2   1692k(a)(3)). Further, the Court should consider the experience, skill, and reputation of the

 3   attorneys requesting fees. Schwarz v. Sec’ of Health & Human Servs., 73 F.3d 895, 906 (9th Cir.
 4
     1995).
 5
              Dan L. Wulz, Esq., Plaintiff’s counsel, has been practicing law for over thirty-five (35)
 6
 7   years and engaged with consumer law—a very specialized field—for over fifteen (15) years. Mr.

 8   Wulz has attended numerous annual litigation conferences hosted by the National Consumer
 9   Law Center (typically attended by 600-700 attorneys from the United States), and has been
10
     recognized as well-qualified in having acted as a speaker at those conferences. Mr. Wulz bills at
11
     a rate of $450, which is very reasonable considering the market rates in Las Vegas, Nevada, his
12
13   years of experience, and his expertise. Sophia Romero, Esq., has been practicing consumer law

14   at Legal Aid Center of Southern Nevada, Inc., for 6 years and bills at a rate of $300.00 per hour.
15   See: Exhibit No. 1.
16
              Mitchell D. Gliner, Esq., is an experienced litigation attorney, having spent over 15 years
17
     working as a Line Officer and Judge Advocate for the United States Marine Corps. Additionally,
18
19   Mr. Gliner has lectured, locally and nationally, on both the Fair Debt Collection Practices Act

20   and the Fair Credit Reporting Act; Mr. Gliner provides support for attorneys new to these areas.
21
     Mr. Gliner bills at a rate of $500, and has been awarded such rate in previous cases. Mr. Gliner’s
22
     rate is very reasonable considering his years of experience, his expertise, and the market rates in
23
     Las Vegas, Nevada. See: Exhibit No. 2.
24
25            Daniel A. Edelman, Esq., is an experienced class action litigation attorney with 41 years

26   of experience, with significant consumer protection class action litigation experience, including
27
     Fair Debt Collection Practices Act cases. He is a published author. He has acted as counsel in
28

                                                      10
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     leading, published class action consumer protection cases for decades. His hourly rate of $700
 1
 2   has been approved as reasonable by various courts as shown in orders attached to his

 3   Declaration.
 4
            3. The Kerr Factors are Not Needed to Enhance or Reduce the Award for Fees
 5
            “There is a strong presumption that the lodestar amount represents an adequate fee
 6
 7   award.” Rodriguez, 2012 WL 5207545 at *4 (citing Hensley v. Eckhart, 461 U.S. 424 (1983)).

 8   The Court should find that the above hourly rates and number of hours are reasonable. Therefore,
 9   there is no need to consider the Kerr factors.
10
                                             V. CONCLUSION
11
            For the foregoing reasons, Plaintiff and Intervenor respectfully request that the Court
12
13   approve payment of $25,000 in attorney’s fees and costs to Class Counsel, and approve payment

14   of $12,550 in attorney’s fees and costs to Legal Aid Center of Southern Nevada, Inc. in the
15   associated litigation, Garcia v. Autovest, LLC, Case No. A-16-736936-A.
16
            DATED this 5th day of September, 2017.
17
                                                      LEGAL AID CENTER OF
18
                                                      SOUTHERN NEVADA, INC.
19
20                                                      /s/ Dan L. Wulz
                                                      DAN L. WULZ, ESQ.
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                                                      Nevada Bar No. 5557
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